              Case 2:17-cv-00094-RAJ Document 233 Filed 03/13/19 Page 1 of 5




 1                                                        THE HONORABLE RICHARD A. JONES
 2

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9   ABDIQAFAR WAGAFE, et al., on behalf               No. 17-cv-00094 RAJ
     of themselves and others similarly situated,
10                                                     SUPPLEMENTAL DECLARATION OF
                            Plaintiffs,                HUGH HANDEYSIDE IN SUPPORT OF
11                                                     PLAINTIFFS’ MOTION FOR
            v.                                         SANCTIONS
12
     DONALD TRUMP, President of the
13   United States, et al.,
14                          Defendants.
15
            I, Hugh Handeyside, declare as follows.
16
            1.      I am an attorney admitted to practice in New York and Washington, and I am
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     counsel for Plaintiffs in this case. I have personal knowledge of the facts set forth herein and am
18
     competent to testify thereto.
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            2.      My background and experience as an attorney was set forth in the Declaration of
20
     Hugh Handeyside in Support of Plaintiffs’ Motion for Sanctions (Dkt. 139) and the Declaration
21
     of Lee Gelernt in Support of Plaintiffs’ Motion for Class Certification (Dkt. 30).
22
            3.      I have recorded my time contemporaneously for this matter using the Toggl
23
     timekeeping platform. Attached as Exhibit A to this declaration is a true and correct copy of my
24
     time records for the work performed to prepare and file Plaintiffs’ Motion for Sanctions.
25

26

       SUPPLEMENTAL DECL. OF HUGH HANDEYSIDE                                   Perkins Coie LLP
       ISO PLAINTIFFS’ MOTION FOR SANCTIONS                               1201 Third Avenue, Suite 4900
       (No. 17-cv-00094 RAJ) – 1                                            Seattle, WA 98101-3099
                                                                               Phone: 206.35.8000
                                                                               Fax: 206.359.9000
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 1           4.      As supported by the Declaration of Carol Sobel, my hourly rate for the work
 2   performed is $676.85 for 2018, based on my year of graduation and the market rates for Seattle,
 3   Washington. See Declaration of Carol Sobel in Support of Plaintiffs’ Motion for Sanctions (Dkt.
 4   138).
 5           5.      Below is a chart that details the attorneys’ fees that I am seeking. The total value
 6   of my work is $3,993.42.
 7
                                                    Time and Rate
 8                Plaintiffs’ Motion for Sanctions  5.9 hours x $676.85 rate
                                              TOTAL $3,993.42
 9

10
             I declare under penalty of perjury that the foregoing is true and correct.
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             DATED this 13th day of March, 2019, at New York, New York.
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13                                                          s/ Hugh Handeyside
                                                            Hugh Handeyside
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     SUPPLEMENTAL DECL. OF HUGH HANDEYSIDE                                      Perkins Coie LLP
     ISO PLAINTIFFS’ MOTION FOR SANCTIONS                                  1201 Third Avenue, Suite 4900
     (No. 17-cv-00094 RAJ) – 2                                               Seattle, WA 98101-3099
                                                                                Phone: 206.35.8000
                                                                                Fax: 206.359.9000
              Case 2:17-cv-00094-RAJ Document 233 Filed 03/13/19 Page 3 of 5




 1                                   CERTIFICATE OF SERVICE
 2
            I certify that on the date indicated below, I caused service of the foregoing document via
 3
     the CM/ECF system, which will automatically send notice of such filing to all counsel of record.
 4
            DATED this 13th day of March, 2019, at Seattle, Washington.
 5

 6                                                       s/ Cristina Sepe
                                                         Cristina Sepe, WSBA No. 53609
 7                                                       Perkins Coie LLP
                                                         1201 Third Avenue, Suite 4900
 8                                                       Seattle, WA 98101-3099
                                                         Telephone: 206.359.8000
 9                                                       Facsimile: 206.359.9000
                                                         Email: CSepe@perkinscoie.com
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       CERTIFICATE OF SERVICE                                                 Perkins Coie LLP
       (No. 17-cv-00094 RAJ) – 1                                        1201 Third Avenue, Suite 4900
                                                                          Seattle, WA 98101-3099
                                                                             Phone: 206.35.8000
                                                                             Fax: 206.359.9000
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                EXHIBIT A
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Detailed report
2018-01-01 - 2018-12-31
Total 05 h 55 min


Date    Description                                                                     Duration      User
03-21   Confer regarding motion for sanctions                                           0:36:00       Hugh Handeyside

        CARRP - [AF]                                                                    14:31-15:07

03-26   Review and revise draft motion for sanctions                                    0:40:58       Hugh Handeyside

        CARRP - [AF]                                                                    19:50-20:31

03-26   Review and revise draft motion for sanctions                                    0:49:07       Hugh Handeyside

        CARRP - [AF]                                                                    23:57-00:46

03-28   Review and revise draft motion for sanctions; exchange correspondence on same   0:27:22       Hugh Handeyside


        CARRP - [AF]                                                                    10:54-11:21

04-10   Review opposition to motion for sanctions; exchange correspondence on same      1:32:00       Hugh Handeyside


        CARRP - [AF]                                                                    14:27-15:59

04-12   Review and revise draft reply in support of motion for sanctions                1:49:52       Hugh Handeyside


        CARRP - [AF]                                                                    22:46-00:36


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